         Case 4:95-cr-40013-JPG                     Document 491            Filed 08/31/10          Page 1 of 3             Page ID #92
~AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet I

                                                                                                                                   A"1.
                                     UNITED STATES DISTRICT COURT                                                                         'l.~
                                                          Southern District of Illinois                           &oU~<:'~
                                                                                                                        o        41'(/6' J ~"    V
                                                                                                                        l'1t<:,~IV<%&     / <'0.
        UNITED STATES OF AMERICA                                         Judgment in a Criminal Case                     &<:".01&01&1'.
                                                                                                                           'vl'o l'.." >\>~
                                                                                                                                             ~
                             v.                                          (For Revocation of Probation or Supervised Release)    ~  ciCr gr  c
                  DARON WOODS                                                                                                        "FlO; 1<?U.."l'
                                                                                                                                              IIVO
                                                                                                                                                  '&
                                                                         Case No. 4:95CR40013-006
                                                                         USM No. 03325-025
                                                                           Judith A. Kuenneke, AFPD
                                                                                                  Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           as alleged below                  of the teun of supervision.
o   was found in violation of condition(s)             _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.

The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                              Violation Ended
Statutory                         The defendant committed offense of DUI, No Seal Belt, et al                 04/08/2010



Standard # 2                      The defendant failed to sumit monthly reports timely                        04/30/2010



       The defendant is sentenced as provided in pages 2 through _.....::3~_ofthis judgment. The sentence is imposed pursuant to
the Sentencing Refoun Act of 1984.
o   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa\d. ,f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes ill
economIC CIrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 1239                        08/26/2010
                                                                                                                            nt
Defendant's Year of Birth:           1975

City and State of Defendant's Residence:
Marion, IL 62959
                                                                           J. Phil                                       District Judge
                                                                                                 Name and Title of Judge

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      Case 4:95-cr-40013-JPG                                            Document 491                                                 Filed 08/31/10                                              Page 2 of 3              Page ID #93
AO 245D   (Rev. 12/07) Judgment in a Criminal Case for Revocations
          Sheet lA

                                                                                                                                                                                                        Judgment-Page      2    of      3
DEFENDANT: DARON WOODS
CASE NUMBER: 4:95CR40013-006

                                                                                 ADDITIONAL VIOLATIONS

                                                                                                                                                                                                                               Violation
Violation Number              Nature of Violation                                                                                                                                                                              Concluded
Special                       The defendant failed to participate in a program for substance abuse as                                                                                                                          11/24/2009
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                              '::':' t~teu, ':,:',V! ~~:~~~!~n,; ''-''''I':;:iimim,ili:!~;!:j,{i i!,l::!),!,L;,WJiljJ-!;~~{,':h'i;!i»IWi!IU!t"F(;i'iWlki:,I::::!H1!)\/:!:;,Hiil,i!t!i!
Special                       The defendant failed to reside in a community correction center                                                                                                                                  07/12/2010
           Case 4:95-cr-40013-JPG                      Document 491            Filed 08/31/10     Page 3 of 3           Page ID #94
  AO 245D       (Rev. i2/07) Judgment in a Criminal Case for Revocations
                Sheet 2~ Imprisonment

                                                                                                   Judgment -   Page   _-",3_ of   3
  DEFENDANT: DARON WOODS
  CASE NUMBER: 4:95CR40013-006


                                                                    IMPRISONMENT

           The defendant is hereby connnitted to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of:
8 months




       t/ The court makes the following reconnnendations to the Bureau of Prisons:
That the defendant participate in Mental Health Treatment and Grief Counseling.




       t/ The defendant is remanded to the custody of the United States Marshal.
       o The defendant shall surrender to the United States Marshal for this district:
         o at _ _ _ _ _ _ _ _ _ 0 a.m. 0 p.m. on
         o as notified by the United States Marshal.
       o    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            o    before 2 p.m. on
            o     as notified by the United States Marshal.
            o     as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




           Defendant delivered on                                                       to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                              By
                                                                                             DEPUTY UNITED STATES MARSHAL
